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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

     BOKF, N.A., as indenture trustee,

                            Plaintiff,

            v.                                                  Case No. 21-00031-KD-B

     GORDON JENSEN HEALTH CARE
     ASSOCIATION, INC.; KNOLLWOOD NH,
     LLC; CONQUEST HEALTH SYSTEMS,
     LLC; MARSH POINTE MANAGEMENT,
     LLC; and MEDICAL CLINIC BOARD OF
     THE CITY OF MOBILE (SECOND),

                            Defendants.


          WALLER LANSDEN DORTCH & DAVIS, LLP’S MOTION TO APPROVE
            COMPENSATION FOR SERVICES RENDERED AND EXPENSES
             INCURRED AS COUNSEL TO RECEIVER FOR THE PERIOD
                   FROM JUNE 1, 2022 THROUGH JUNE 30, 2022

           Waller Lansden Dortch & Davis, LLP (“Waller”), counsel to the court-appointed receiver

 (the “Receiver”) in the above-captioned civil action, submits this motion to approve

 compensation for services rendered and reimbursement of costs and expenses incurred (the “Fee

 Application”) for the period from June 1, 2022 through June 30, 2022 (the “Application Period”)

 as counsel to the Receiver and, in support of the Fee Application, Waller respectfully states as

 follows:

                                                 BACKGROUND

           1.     On March 15, 2021 (the “Appointment Date”), this Court entered the Order (Dkt.

 No. 43) (the “Receiver Order”), 1 appointing the Receiver to administer and control the Facility.



 1
   Capitalized terms used in this Application and not otherwise defined shall have the meanings ascribed to them in
 the Receiver Order.
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        2.      Since accepting the appointment pursuant to the Receiver Order, the Receiver has

 exercised his full power and authority to control, manage, administer, operate, and protect the

 Receivership Estate, as laid out in the Receiver Order. The Receiver has operated and

 administered the Receivership Estate in an economical and efficient manner in compliance with

 the terms and conditions of the Bond Documents and applicable law and in the best interest of

 the Receivership Estate’s creditors.

        3.      Paragraph (8), subsection (xxiv) of the Receiver Order allows HMP to employ

 counsel to assist it in its role as Receiver. This Court approved the Receiver’s retention of Waller

 to represent it as its general counsel in this matter. (Receiver Order ¶ 19.)

        4.      Paragraph (36) of the Receiver Order provides that the Receiver shall file

 applications for payment of the Receiver’s and Receiver Affiliates fees and expenses on the

 twentieth (20) of each calendar month.

        5.      Pursuant to the Receiver Order, fees and expenses payable to Receiver Affiliates

 shall be treated as priority administrative claims against the Receivership Estate, and payment of

 such amounts in accordance with the Receiver Order take priority over payment of any claims

 arising prior to the date on which the Receiver is appointed (including, but not limited to, claims

 of the Trustee with respect to the Bonds).

        6.      The professional services provided by Waller are necessary to enable the Receiver

 to perform and exercise faithfully and confidently the Receiver’s powers, duties, and

 responsibilities under the Receiver Order.

        7.      Waller charges the Receiver for its legal services at the hourly rates in effect as of

 January 1, 2022, for matters of this type, and for reimbursement of all reasonable costs and




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 expenses incurred in connection with its representation of the Receiver in all matters concerning

 the above-captioned proceedings.

        8.       Waller maintains computerized time records of the time spent by all Waller

 professionals and paraprofessionals in connection with its representation of the Receiver.

        9.       Waller’s computerized time records reflect the category of the services provided,

 the date services were performed, the name of the professionals and paraprofessionals who

 rendered the services, a description of the services provided, the amount of time expended, and

 the cost of such services.

        10.      As set forth in greater detail below, Waller’s activities on behalf of the Receiver

 in relation to the above-captioned proceedings were substantial, beneficial, and necessary for the

 fulfillment of the Receiver’s duties and obligations pursuant to the Receiver Order.

        11.      Attached as Exhibit A to this application are computerized time records reflecting

 the services provided by Waller during the Application Period.

             DESCRIPTION OF SERVICES AND EXPENSES FOR THE APPLICATION PERIOD

        12.      During the Application Period, Waller spent 23.5 hours providing services to the

 Receiver to assist the Receiver in fulfilling his duties and obligation under the Receiver Order,

 resulting in $11,171.00 in fees and $1,281.00 in expenses.

        13.      The services rendered by Waller during the Application Period were performed

 by Waller professionals as follows:

              Professional                Hourly Rate             Hours                   Fees

 Kristen A. Larremore                         $540                  2.7                 $1,458.00

 Ryan K. Cochran                              $575                  4.2                 $2,415.00

 Brian J. Malcom                              $490                  8.3                 $4,067.00


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 Blake D. Roth                                $520                 2.1             $1,092.00

 Kendria S. Lewis                             $345                 6.2             $2,139.00

 TOTAL                                                            23.5            $11,171.00

        14.      In addition, during the Application Period, Waller incurred expenses in the

 amount of $1,281.00 in connection with service costs.

                           TERMS AND CONDITIONS OF COMPENSATION

        15.      Subject to this Court’s approval, Waller seeks payment on an hourly basis, plus

 reimbursement of actual, necessary expenses incurred by Waller during the Application Period.

        16.      The rates charged by Waller in this case are the same rates charged by Waller

 with regard to other matters of this type.

        17.      By this Fee Application, Waller seeks entry of an order granting approval, and

 directing payment, without further order of this Court, at such times as the Receiver determines

 in his absolute discretion that the funds are available, of (a) compensation in the amount of

 $11,171.00 for professional services rendered in aid of the Receiver during the Application

 Period as counsel to the Receiver and (b) reimbursement of actual and necessary out of pocket

 disbursements and charges in the amount of $1,281.00 incurred in the rendering of such

 professional services on behalf of the Receiver during the Application Period.

        18.      Other than Waller’s partnership agreement, there are no agreements or

 understandings between Waller and any other person for the sharing of compensation to be

 received for services rendered as counsel to the Receiver during the above-captioned

 proceedings.




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           19.    All services for which compensation is requested and expenses for which

 reimbursement is requested are reasonable, necessary, and were performed for and on behalf of

 the Receiver during the Application Period.

           20.    The fees and expenses incurred during the Application Period were incurred in the

 best interests of all parties to the above-captioned proceedings.

           21.   Waller has no interests adverse to the Receiver that would inhibit Waller from

 acting as counsel to the Receiver or performing any legal services for the Receiver as necessary

 for the performance of its duties under the Receiver Order.

           WHEREFORE, the Waller respectfully requests that this Court enter an order approving

 this Fee Application and granting such other and further relief as this Court deems just and

 proper.


                            [Remainder of Page Left Intentionally Blank]




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 Dated: July 20, 2022                      Respectfully submitted,

                                             /s/ Brian J. Malcom
                                           Brian J. Malcom
                                           WALLER LANSDEN
                                           DORTCH & DAVIS, LLP
                                           1901 Sixth Ave. North, Suite 1400
                                           Birmingham, AL 35203
                                           Tel: (205) 226-5706
                                           Fax: (205) 214-7342
                                           Brian.Malcom@wallerlaw.com

                                           - and -

                                           Ryan K. Cochran
                                           Alabama Bar No. 1748N70C
                                           WALLER LANSDEN
                                           DORTCH & DAVIS, LLP
                                           511 Union Street, Suite 2700
                                           Nashville, Tennessee 37219
                                           Tel: (615) 850-8778
                                           Fax: (615) 244-6304
                                           ryan.cochran@wallerlaw.com

                                           Attorneys for the Receiver, Derek Pierce of
                                           Healthcare Management Partners, LLC




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                                  CERTIFICATE OF SERVICE

        I, the undersigned, declare that a true and correct copy of the foregoing was served via
 the Court’s CM/ECF electronic noticing system on the date set forth below on the following:

 W. Joseph McCorkle, Jr.                            Thomas R. Boller
 Balch & Bingham                                    Mary Allie Elizabeth Boller
 P.O. Box 78                                        Thomas R. Boller, PC
 Montgomery, AL 36101                               150 Government Street, Ste. 1001
 jmccorkl@balch.com                                 Mobile, AL 36602
                                                    tom@bollerlawfirm.com
 Frederic Dorwart                                   allie@bollerlawfirm.com
 James A. Higgins
 Nora R. O’Neill                                    Attorneys for Conquest Health
 Frederic Dorwart Lawyers                           Systems, LLC; Gordon Jensen
 124 E. Fourth Street, Ste. 100                     Health Care Association, Inc.;
 Tulsa, OK 74103                                    Knollwood NH, LLC; & Marsh
 fdorwart@fdlaw.com                                 Pointe Management, LLC
 jhiggins@fdlaw.com
                                                    Michael Mark Linder, Jr.
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 Atlanta, GA 30308
 wjones@balch.com                                   Attorney for Medical Clinic Board
 psilloway@balch.com                                of the City of Mobile
 Attorneys for BOKF, N.A.


 This 20th day of July, 2022.                        /s/ Brian J. Malcom
                                                    OF COUNSEL




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                                   Exhibit A

                                 Waller Invoices
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  06/17/22   Work on proration items with HMP
             B130                             Cochran, Ryan K                  0.10 hrs.           $ 57.50

  06/17/22   Provide draft closing documents and closing task list to B. Guy
             (Purchaser)
             B130                               Cochran, Ryan K                0.10 hrs.           $ 57.50

  06/20/22   Confer separately with B. Guy (Buyer counsel) and W. Jones (Trustee
             counsel) re: closing documents
             B130                               Cochran, Ryan K             0.10 hrs.              $ 57.50

  06/21/22   Work on closing checklist with K. Larremore
             B130                                Cochran, Ryan K               0.10 hrs.           $ 57.50

  06/21/22   Work on coordinating closing approvals with title company
             B130                               Cochran, Ryan K                0.10 hrs.           $ 57.50

  06/21/22   Work on obtaining executed QCD from issuer
             B130                             Cochran, Ryan K                  0.20 hrs.          $ 115.00

  06/22/22   Call with S. O'Connor re:
             B130                                Cochran, Ryan K               0.20 hrs.          $ 115.00

  06/23/22   Participate in closing call with buyer
             B130                                   Cochran, Ryan K            0.30 hrs.          $ 172.50

  06/23/22   Work on Issuer QCD's
             B130                                Cochran, Ryan K               0.20 hrs.          $ 115.00

                                  Code Total:                                  3.80 hrs.         $2,185.00

  06/02/22   Confer with D. Pierce and K. Shamblin re: insurance issue
             B210                              Cochran, Ryan K                 0.10 hrs.           $ 57.50

                                  Code Total:                                  0.10 hrs.            $57.50

  06/03/22   Revise closing deliverable documents in preparation for closing
             C200                               Lewis, Kendria S             0.80 hrs.            $ 276.00

  06/22/22   Revise documents in preparation for closing
             C200                               Lewis, Kendria S               1.20 hrs.          $ 414.00

                                  Code Total:                                  2.00 hrs.           $690.00

  06/13/22   Review certain transaction documentation to prepare for closing
             C300                           Larremore, Kristen A.            0.30 hrs.            $ 162.00

  06/15/22   Review the asset purchase agreement
             C300                          Larremore, Kristen A.               0.60 hrs.          $ 324.00

  06/15/22   Prepare a list of proration items for HMP to be working on in conjunction
             with the closing date
             C300                              Larremore, Kristen A.           0.30 hrs.          $ 162.00

  06/15/22   Draft proration agreement and provide comments for updates
             C300                           Larremore, Kristen A.              0.40 hrs.          $ 216.00
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  06/20/22   Update the draft proration agreement and circulate to purchaser's counsel
             for discussion
             C300                            Larremore, Kristen A.            0.60 hrs.            $ 324.00

                                  Code Total:                                  2.20 hrs.          $1,188.00

  06/23/22   Call with seller's counsel to coordinate closing items
             C400                              Larremore, Kristen A.           0.50 hrs.           $ 270.00

                                  Code Total:                                  0.50 hrs.            $270.00

  06/01/22   Correspondence with court and opposing counsel re: scheduling of
             hearing on motion for injunction against judgment creditor Burgett
             L250                                 Malcom, Brian J.             0.90 hrs.           $ 441.00

  06/01/22   Work on motion to approve final accounting and discharge receiver
             L250                                  Roth, Blake D            0.90 hrs.              $ 468.00

  06/02/22   Draft and revise motion re: injunctive relief against judgment creditor
             Burgett
             L250                                  Malcom, Brian J.             1.20 hrs.          $ 588.00

  06/07/22   Work on monthly operating report and fee application
             L250                               Cochran, Ryan K                0.10 hrs.            $ 57.50

  06/07/22   Draft and revise motion for dismissal of judgment creditor Burgett
             L250                                 Malcom, Brian J.              1.10 hrs.          $ 539.00

  06/08/22   Draft and revise motion for voluntary dismissal without prejudice re:
             Burgett
             L250                                 Malcom, Brian J.              1.30 hrs.          $ 637.00

  06/09/22   Attention to monthly operating report and fee applications
             L250                                    Roth, Blake D             0.10 hrs.            $ 52.00

  06/13/22   Prepare for hearing on motion for injunction re: Burgett
             L250                                 Malcom, Brian J.             1.10 hrs.           $ 539.00

  06/13/22   Draft monthly operating report and fee applications
             L250                                    Roth, Blake D             0.50 hrs.           $ 260.00

  06/16/22   Draft and revise monthly operating report and fee applications
             L250                                 Malcom, Brian J.             0.70 hrs.           $ 343.00

  06/16/22   Work on monthly operating report and fee applications
             L250                                  Roth, Blake D               0.60 hrs.           $ 312.00

  06/17/22   Draft and revise monthly operating report and fee applications
             L250                                 Malcom, Brian J.             0.40 hrs.           $ 196.00

  06/20/22   Work on monthly operating report and fee applications
             L250                               Cochran, Ryan K                0.20 hrs.           $ 115.00

  06/24/22   Draft and revise dismissal of injunction action re: Burgett
             L250                                  Malcom, Brian J.            1.60 hrs.           $ 784.00
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                                         Code Total:                                                 10.70 hrs.               $5,331.50

            Total Fees for Professional Services ..............................................................             $ 11,171.00



                                                       Summary of Fees

             Timekeeper                                          Rate / Hr                  Hours                Amount

             Larremore, Kristen A.                           540.00                           2.70             $ 1,458.00
             Cochran, Ryan K                                 575.00                           4.20             $ 2,415.00
             Malcom, Brian J.                                490.00                           8.30             $ 4,067.00
             Roth, Blake D                                   520.00                           2.10             $ 1,092.00
             Lewis, Kendria S                                345.00                           6.20             $ 2,139.00

             TOTAL                                                                          23.50          $ 11,171.00


                                                         Disbursements

            Postage - 136 @ 9.42                                                                                             $ 1,281.00

            Total Disbursements ................................................................ ...........                 $ 1,281.00

            Total Fees and Disbursements on This Invoice                                                                    $ 12,452.00

            PLEASE REMIT TOTAL AMOUNT DUE                                                                                   $ 12,452.00
